Case: 2:24-cv-00072-DCR-CJS            Doc #: 92 Filed: 06/07/24     Page: 1 of 23 - Page
                                          ID#: 1820


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF KENTUCKY
                         COVINGTON DIVISION
 STATE OF TENNESSEE,
 COMMONWEALTH OF KENTUCKY,
 STATE OF OHIO, STATE OF INDIANA,
 COMMONWEALTH OF VIRGINIA, and
 STATE OF WEST VIRGINIA,

        Plaintiffs,

 and                                            Case No. 2:24-cv-00072-DCR-CJS
                                                District Judge Danny C. Reeves
 CHRISTIAN EDUCATORS ASSOCIA-                   Magistrate Judge Candace J. Smith
 TION INTERNATIONAL, and A.C., by
 her next friend and mother, Abigail Cross,

         Intervenor-Plaintiffs,


 v.

 MIGUEL CARDONA, in his official capac-
 ity as Secretary of Education, and UNITED
 STATES DEPARTMENT OF EDUCA-
 TION,

         Defendants.

       REPLY IN SUPPORT OF THE STATES’ MOTION FOR A § 705 STAY AND
                        PRELIMINARY INJUNCTION
 Case: 2:24-cv-00072-DCR-CJS                                    Doc #: 92 Filed: 06/07/24                               Page: 2 of 23 - Page
                                                                   ID#: 1821




                                                          TABLE OF CONTENTS


INTRODUCTION ........................................................................................................................................... 1
ARGUMENT..................................................................................................................................................... 2
I.          The States Are Likely to Succeed on the Merits of Their Challenge. ........................................... 2
       A.         The Gender-Identity Mandate Exceeds the Department’s Title IX Authority. ................... 2
       B.         The “Harassment” Definition Exceeds the Department’s Title IX Authority. ................... 9
       C.         The Final Rule Violates the Constitution. ................................................................................. 9
       D.         The Final Rule Is Arbitrary and Capricious............................................................................. 10
II.         The Remaining Factors Favor Preliminary Relief. ........................................................................11
       A.         The Final Rule Inflicts Irreparable Harm on the States. ....................................................... 11
       B.         Preliminary Relief Will Not Harm Defendants or the Public Interest. ............................... 14
III.        The APA and Equity Support Entry of the States’ Requested Relief. .......................................15
CONCLUSION ............................................................................................................................................... 15




                                                                              ii
 Case: 2:24-cv-00072-DCR-CJS                                    Doc #: 92 Filed: 06/07/24                               Page: 3 of 23 - Page
                                                                   ID#: 1822


                                                       TABLE OF AUTHORITIES

                                                                                                                                                 Page(s)

Cases

A.C. ex rel. M.C. v. Metro. Sch. Dist. of Martinsville,
  75 F.4th 760 (7th Cir. 2023)......................................................................................................................... 2

Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty.,
  968 F.3d 1286 (11th Cir. 2020)..................................................................................................................14

Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty.,
  57 F.4th 791 (11th Cir. 2022).......................................................................................................... 3, 5, 7, 8

B.P.J. ex rel. Jackson v. W.V. State Bd. of Educ.,
  98 F.4th 542 (4th Cir. 2024).................................................................................................................... 5, 8

Bostock v. EEOC,
  590 U.S. 644 (2020) ............................................................................................................................... passim

Brannum v. Overton Cnty. Sch. Bd.,
  516 F.3d 489 (6th Cir. 2008) ........................................................................................................................ 5

Career Colls. & Schs. of Tex. v. U.S. Dep’t of Educ.,
  98 F.4th 220 (5th Cir. 2024).......................................................................................................................15

Charvat v. GVN Mich., Inc.,
  561 F.3d 623 (6th Cir. 2009) ........................................................................................................................ 4

D.H. ex rel. A.H. v. Williamson Cnty. Bd. of Educ.,
  638 F. Supp. 3d 821 (M.D. Tenn. 2022) ............................................................................................... 3, 8

Dodds v. U.S. Dep’t of Educ.,
  845 F.3d 217 (6th Cir. 2016) ........................................................................................................................ 5

Fla. Bankers Ass’n v. U.S. Dep’t of Treasury,
   799 F.3d 1065 (D.C. Cir. 2015) .................................................................................................................13

Griffin v. HM Florida-ORL, LLC,
  144 S. Ct. 1 (2023) .......................................................................................................................................15

Grimm v. Gloucester Cnty. Sch. Bd.,
  972 F.3d 586 (4th Cir. 2020) ........................................................................................................................ 5

Grimm v. Gloucester Cnty. Sch. Bd.,
  822 F.3d 709 (4th Cir. 2016) ......................................................................................................................13

                                                                              iii
 Case: 2:24-cv-00072-DCR-CJS                                    Doc #: 92 Filed: 06/07/24                               Page: 4 of 23 - Page
                                                                   ID#: 1823


In re Juntoff,
   76 F.4th 480 (6th Cir. 2023)......................................................................................................................... 9

Jackson v. Birmingham Bd. of Educ.,
   544 U.S. 167 (2005) .....................................................................................................................................10

Kasper v. Sch. Bd. of St. Johns Cnty.,
  57 F.4th 791 (11th Cir. 2022).......................................................................................................... 3, 5, 7, 8

Kentucky v. Biden,
  23 F.4th 585 (6th Cir. 2022).......................................................................................................................13

Kentucky v. Biden,
  57 F.4th 545 (6th Cir. 2023).......................................................................................................................12

Kentucky v. Yellen,
  54 F.4th 325 (6th Cir. 2022)......................................................................................................................... 9

Kiakombua v. Wolf,
  498 F. Supp. 3d 1 (D.D.C. 2020) ..............................................................................................................15

L.W. v. Skrmetti,
  73 F.4th 408 (6th Cir. 2023)......................................................................................................................... 2

L.W. v. Skrmetti,
  83 F.4th 460 (6th Cir. 2023)................................................................................................... 2, 3, 6, 13, 14

LaShonda D. v. Monroe Cnty. Bd. of Educ.,
  526 U.S. 629 (1999) ....................................................................................................................................... 9

Meriwether v. Hartop,
  992 F.3d 492 (6th Cir. 2021) ................................................................................................................. 3, 10

N. Haven Bd. of Educ. v. Bell,
  456 U.S. 512 (1982) ....................................................................................................................................... 3

Pelcha v. MW Bancorp., Inc.,
   988 F.3d 318 (6th Cir. 2021) ........................................................................................................................ 3

Peltier v. Charter Day Sch., Inc.,
   37 F.4th 104 (4th Cir. 2022)......................................................................................................................... 5

Rest. L. Ctr. v. U.S. Dep’t of Lab.,
  66 F.4th 593 (5th Cir. 2023).......................................................................................................................12

Tennessee v. Dep’t of Educ.,
  615 F. Supp. 3d 807 (E.D. Tenn. 2022) ...................................................................................................10

                                                                              iv
 Case: 2:24-cv-00072-DCR-CJS                                      Doc #: 92 Filed: 06/07/24                                Page: 5 of 23 - Page
                                                                     ID#: 1824


United States v. Virginia,
  518 U.S. 515 .................................................................................................................................................14

West Virginia v. EPA,
 577 U.S. 1126 (2016) ...................................................................................................................................15

West Virginia v. EPA,
 597 U.S. 697 (2022) ....................................................................................................................................... 6

Statutes

20 U.S.C. § 1681 ................................................................................................................................ 2, 4, 5, 8, 9

20 U.S.C. § 1686 ............................................................................................................................................ 3, 4

Tenn. Code Ann. § 49-6-316 ..........................................................................................................................10

Tenn. Code Ann. § 49-50-805........................................................................................................................13

Regulations

34 C.F.R. § 106.6 ..............................................................................................................................................13

34 C.F.R. § 106.10 .............................................................................................................................................. 6

34 C.F.R. § 106.32 .............................................................................................................................................. 4

34 C.F.R. § 106.33 ..................................................................................................................................... 4, 5, 8

34 C.F.R. § 106.34 .............................................................................................................................................. 8

89 Fed. Reg. 33,474 (2024) ....................................................................................................................... passim

Other Authorities

HEW, Nondiscrimination on Basis of Sex,
 40 Fed. Reg. 24,127 (June 4, 1975) ............................................................................................................. 4




                                                                                v
 Case: 2:24-cv-00072-DCR-CJS              Doc #: 92 Filed: 06/07/24            Page: 6 of 23 - Page
                                             ID#: 1825


                                         INTRODUCTION

        Defendants insist (at 1, 4, 5, 9, 19-20) that the Final Rule merely “clarifies” that Title IX has

always required the Nation’s schools to give men unfettered access to girls’ bathrooms. Never mind

that sex-separated facilities have persisted for centuries, or that Title IX expressly allows them: De-

fendants say schools may have policies requiring boys’ and girls’ bathrooms, just not enforce those poli-

cies against students with differing gender identities. Nor are Defendants detained by women’s dis-

comfort over undressing with men (and vice versa): Defendants’ opposition is silent on Title IX’s aim

to protect women and dismisses all privacy and safety concerns as unfounded or based in bigotry.

        Bostock is Defendants’ lone justification for prohibiting sex-segregated bathrooms in schools.

But that opinion expressly refused to address “sex-segregated … bathrooms, locker rooms, or anything

else of the kind.” 590 U.S. 644, 681 (2020). Defendants do not explain how a decision can both

disavow discussing bathrooms and set a “clear” rule for them. These and other legal and logical

flaws—covering sports, pronouns, and more—pervade the Final Rule and Defendants’ opposition.

And they indict Defendants’ use of rulemaking to transform a 1972 statute aimed at advancing women

into a gender-identity mandate that thwarts women’s educational opportunity and defies Congress.

        Defendants otherwise fail to rebut the States’ entitlement to preliminary relief. The States will

suffer severe, unrecoverable compliance costs or risk billions in lost funding—as the Final Rule and

the States’ unrebutted factual submissions confirm. More concerning are the States’ sovereignty

harms—which Defendants nowhere dispute—and risk to students’ safety and privacy—which De-

fendants dismiss out of hand. Separating intimate facilities by sex reflects legitimate biological con-

cerns, not discrimination, and has existed for all of modern time. The public interest favors maintain-

ing this status quo a while longer, not permitting Defendants to inflict unprecedented consequences

on school children the coming school year without review. This Court should grant preliminary relief.


                                                   1
 Case: 2:24-cv-00072-DCR-CJS                Doc #: 92 Filed: 06/07/24              Page: 7 of 23 - Page
                                               ID#: 1826


                                              ARGUMENT

I.      The States Are Likely to Succeed on the Merits of Their Challenge.

        A.      The Gender-Identity Mandate Exceeds the Department’s Title IX Authority.

        Title IX’s prohibition on “sex” discrimination does not outlaw schools’ traditional ability to

separate bathrooms and sports by students’ sex. PI Br. 12-15. Defendants (at 5-6, 9), departing from

leading cases in their corner, e.g., A.C. ex rel. M.C. v. Metro. Sch. Dist. of Martinsville, 75 F.4th 760, 770

(7th Cir. 2023), now accept that “sex” means “only physiological or biological distinctions between

male and female.” But they say (at 1) Bostock’s reasoning “straightforwardly” supports the Final Rule.

        Since Defendants’ position is entirely divorced from Title IX’s text, structure, and history,

their logic is hard to follow. But as best the States can tell, the argument goes like this. To begin,

Defendants posit that Bostock means any gender-identity discrimination qualifies as “sex” discrimina-

tion under Title IX. 20 U.S.C. § 1681(a). Next, Defendants announce that requiring the use of sex-

separated facilities always inflicts “more than de minimis harm” on, and thus discriminates against,

persons whose sex and subjective gender-identities differ. That is so even though Title IX permits

such policies, which treat both sexes, as well as all members of each sex, equally. Having posited that

enforcing sex separation is always gender-identity discrimination, the Final Rule arrives at its conclu-

sion: Separating facilities by sex = gender-identity discrimination = sex discrimination. This new

formula for reading a gender-identity mandate into Title IX breaks down on multiple fronts.

        1. Defendants’ reliance on Bostock for the proposition that gender-identity discrimination

equals sex discrimination in Title IX fails for a simple reason: Bostock’s analysis “applies only to Title

VII,” as this Circuit’s cases “make clear.” L.W. v. Skrmetti, 83 F.4th 460, 484 (6th Cir. 2023). Defend-

ants dismiss (at 8-9) this directive as “acontextual dicta” in an “initial” panel ruling that did not “ad-

dress what it means to discriminate on ‘the basis of sex.’” Not so. Defendants’ “initial view” language

(at 8) stems from the first L.W. decision at the panel phase, 73 F.4th 408 (6th Cir. 2023), not the later
                                                   2
 Case: 2:24-cv-00072-DCR-CJS               Doc #: 92 Filed: 06/07/24              Page: 8 of 23 - Page
                                              ID#: 1827


L.W. opinion that binds here, 83 F.4th 460. Nor was the Circuit’s discussion “dicta,” since the plain-

tiffs (and dissent) relied on Bostock as a central basis for their constitutional argument. And that argu-

ment was that state laws barring certain irreversible treatments for children with gender dysphoria

discriminated “on the basis of sex”—a theory the Circuit rejected. Id. at 469, 484-86.

        The Sixth Circuit’s rule against applying Bostock to Title IX reflects the fact that the two statutes

“differ[] . . . in important respects.” Meriwether v. Hartop, 992 F.3d 492, 510 n.4 (6th Cir. 2021); accord

89 Fed. Reg. 33,474, 33,563 (2024) (“[T]he Department is not bound by Title VII standards in imple-

menting Title IX.”). Most relevant: Unlike Title VII, which presumes sex is irrelevant to employment

decisions, Title IX throughout allows schools to treat male and female students differently in educa-

tional programs and facilities because of the biological differences between the sexes. Such core differ-

ences are why the Department itself first concluded that Bostock did not bear on Title IX—a fact

Defendants ignore. See PI Br. 6. And they are why the Sixth Circuit declined to apply Bostock in the

ADEA context—even though, as Defendants note, the ADEA’s “because of” text is the “same causal

standard” Bostock applied. Opp’n 8; Pelcha v. MW Bancorp., Inc., 988 F.3d 318, 324 (6th Cir. 2021).

        2. Even if Bostock bore on the meaning of Title IX, it would not support the Final Rule. Simply

put, separating the sexes in areas where biological sex differences matter is not discrimination for

purposes of Title IX—whether under Bostock or otherwise. This is so for two independent reasons.

        First, Section 1686 of the statute expressly allows schools to “maintain[] separate living facilities

for the different sexes.” 20 U.S.C. § 1686. The “living facilities” referred to in the statute include

bathrooms. See, e.g., Adams ex. Rel. Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 811-12, 814 (11th

Cir. 2022) (en banc); D.H. ex rel. A.H. v. Williamson Cnty. Bd. of Educ., 638 F. Supp. 3d 821, 835-36

(M.D. Tenn. 2022). Offering “authoritative guid[ance on] the statute’s construction,” N. Haven Bd. of

Educ. v. Bell, 456 U.S. 512, 526-27 (1982), Senate sponsor Birch Bayh described § 1686’s safe-harbor


                                                     3
 Case: 2:24-cv-00072-DCR-CJS              Doc #: 92 Filed: 06/07/24            Page: 9 of 23 - Page
                                             ID#: 1828


language as “permit[ing] differential treatment by sex” in “instances where personal privacy must be

preserved.” 118 Cong. Rec. 5,807 (1972). The “relevant regulation[s]” soon codified and “con-

firm[ed]” that view, Charvat v. GVN Mich., Inc., 561 F.3d 623, 632 (6th Cir. 2009), permitting the

separation of “toilet, locker room, and shower facilities on the basis of sex” so long as the “facilities

provided for students of one sex [are] comparable to such facilities provided for students of the other

sex.” HEW, Nondiscrimination on Basis of Sex, 40 Fed. Reg. 24,127, 24,141 (June 4, 1975) (now

codified at 34 C.F.R. § 106.33). The takeaway: Title IX does not prohibit the exclusion of one “sex”

from the bathrooms of the other “sex”; it clearly allows that practice. See 20 U.S.C. § 1686.

        Defendants (at 12) agree that Section 1686 means schools may enforce sex-separated bounds

in facilities falling within that provision. But they then echo the Final Rule’s conclusion that such

facilities capture only sex-separated “housing” and not “toilet, locker room, and shower facilities.”

See, e.g., 89 Fed. Reg. at 33,821. And yet, “housing” facilities often comprise sleeping quarters with

separate communal bathrooms—meaning, on Defendants’ implausible reading, the Final Rule’s gen-

der mandate could apply differently to private areas on the same hallway. Moreover, the privacy

concerns behind Section 1686 play out in bathrooms, showers, and dorm rooms alike. And the hous-

ing and bathroom regulations—still codified at 34 C.F.R. §§ 106.32 and 106.33, respectively—were

proposed together, adopted together, approved by Congress together, and use the same “may provide

separate [facilities] on the basis of sex” language. Id.; Compl. ¶¶ 69-72. This background confirms

that the “living facilities” provision covers bathrooms and the like. At a minimum, since the housing

regulation permits schools to separate by sex, so too does the identically worded bathroom regulation

(which remains in force, see PI Br. 14-15). Defendants’ lone response (at 12) is that the housing

regulation cited as authority Section 1686, while the bathroom regulation cited Section 1681’s general

non-discrimination provision. But that just supports that the non-discrimination provision itself does


                                                   4
Case: 2:24-cv-00072-DCR-CJS               Doc #: 92 Filed: 06/07/24             Page: 10 of 23 - Page
                                             ID#: 1829


not bar schools from separating bathrooms, locker rooms, and showers by sex.

        Second, as just mentioned, requiring students to use facilities associated with their sex is not

discrimination of any kind. Defendants’ newly conjured “de minimis harm standard” cannot override

Title IX’s text, which in relevant part directs that no person “shall, on the basis of sex,” be “subjected

to discrimination.” 20 U.S.C. § 1681(a). Under Title IX, “the term ‘discrimination’ ‘means treating

[an] individual worse than others who are similarly situated.’” Peltier v. Charter Day Sch., Inc., 37 F.4th

104, 129-30 (4th Cir. 2022) (citation omitted). This does not extend to assigning “comparable” bath-

rooms by sex, 34 C.F.R. § 106.33, in order to give both groups safety and privacy while performing

“intimate, personal activity,” Brannum v. Overton Cnty. Sch. Bd., 516 F.3d 489, 494 (6th Cir. 2008).

        Not only do sex-segregated bathrooms not “treat[]” the members of one sex “worse than [the]

other[].” Peltier, 37 F.4th at 130 (citation omitted). For purposes of accessing private facilities, females

who identify as males are not “similarly situated” to males, and males who identify as females are not

“similarly situated” to females. Cf., e.g., B.P.J. ex rel. Jackson v. W.V. State Bd. of Educ., 98 F.4th 542,

567-68, 572-73 (4th Cir. 2024) (Agee, J., concurring in part and dissenting in part). Males and females

have different body parts that affect how they use the bathroom and other private facilities like show-

ers. See id. at 578; Adams, 57 F.4th at 811-17. They also differ in what they have to keep private, what

they wish to keep private, and from whom. These “anatomical differences are at the root of why

communal restrooms are generally [sex-]separated,” Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586,

636 (4th Cir. 2020) (Niemeyer, J., dissenting), 1 and have historically been.


        1
         Enforcing sex separation in bathrooms and related facilities likewise does not implicate sex-
stereotyping. Cf. Dodds v. U.S. Dep’t of Educ., 845 F.3d 217 (6th Cir. 2016). “[I]t is neither myth nor
outdated stereotype that there are inherent differences between” the sexes. Adams, 57 F.4th at 819
(Lagoa, J., specially concurring). And L.W. instructed that the Circuit’s sex-stereotyping analysis in
Smith does not “extend . . . beyond claims about discrimination over dress or appearance” or “create
a new rule for transgender discrimination.” 84 F.4th at 486.

                                                     5
Case: 2:24-cv-00072-DCR-CJS              Doc #: 92 Filed: 06/07/24            Page: 11 of 23 - Page
                                            ID#: 1830


        In short, “recognizing and respecting biological sex differences” is not discrimination period,

L.W., 83 F.4th at 486—let alone for purposes of a statute that divides the sexes on biological bases

throughout. At a minimum, Defendants lack the type of “clear authorization” needed to read Title

IX’s prohibition on “sex discrimination” as license to force schools to adopt individuals’ self-professed

and unverifiable gender identities for purposes of accessing bathrooms and other sex-separated facil-

ities. See West Virginia v. EPA, 597 U.S. 697, 723, 732, 735 (2022).

        3. Defendants’ contrary arguments in defense of the Final Rule all fail. Bostock has no bearing

on sex-separated bathrooms. Unlike here, the factual setting of Bostock—i.e., the firing of individuals

based on their gender identities—met the “worse treatment” and “similarly situated” conditions. Be-

ing fired is a quintessential form of worse treatment, so “discrimination” was a given. The “similarly

situated” prong, 590 U.S. at 657, was likewise satisfied, given the Court’s conclusion that “[a]n indi-

vidual’s homosexuality or transgender status is not relevant to employment decisions” about hiring

and firing, id. at 660. For good reason, then, Bostock emphatically declined to address “sex-segregated

bathrooms” “or anything . . . of the kind.” 590 U.S. at 681. Defendants’ read of Bostock as barring

“sex-segregated bathrooms” flouts that limitation, just as their contention (at 9) that § 106.31 is sepa-

rable from § 106.10 and thus the Final Rule’s non-discrimination discussion does not “purport to

address ‘bathrooms’” defies reality, cf. 89 Fed. Reg. at 33,815-16.

        Defendants (at 6) separately err in invoking Bostock’s proposition that “discrimination based

on . . . transgender status necessarily entails discrimination based on sex.” 590 U.S. at 669. Defend-

ants’ statutory position (at 9) presents the inverse of Bostock: Their position rests not on the notion

that “discrimination based on … transgender status necessarily entails discrimination based on sex,”

id., but on the notion that separation based on sex “necessarily entails” discrimination based on

transgender status. Nothing in Bostock—or in Title IX—supports the distinct and logically flawed


                                                    6
Case: 2:24-cv-00072-DCR-CJS                Doc #: 92 Filed: 06/07/24              Page: 12 of 23 - Page
                                              ID#: 1831


theory that any action explicitly based on sex necessarily takes cognizance of gender identity. To the

contrary, all members of the same sex receive like treatment, regardless of their gender identities.

        Nor does Bostock’s but-for logic map onto the wide-ranging gender identities that the Final

Rule claims to cover. Because the Final Rule does not define “gender identity,” that concept extends

to any number of gender identities that reject association with sex altogether, or to individuals who

associate with two sexes simultaneously. If the Final Rule were right that denying bathroom access

aligned with gender identity always inflicted more than de minimis harm on the basis of sex, then there

would seem to be no limit on the types of facilities (e.g., “bigender,” “agender,” “nonbinary” 2) Title

IX might require. If anything, the Final Rule’s bespoke de minimis harm standard that covers only

students’ subjective gender identities would result in the very discrimination Defendants purport to

prohibit by preferencing transgender students over their so-called “cisgender” classmates based on

gender identity. Cf. Adams, 57 F.4th at 813-14. On Defendants’ view, a male who identifies as male

would not be able to play on the woman’s softball team, while a male who identifies as female could.

Such head-scratching results highlight the implausibility of the Final Rule’s interpretation.

        Defendants’ position makes a hash of Title IX’s statutory and regulatory provisions. In De-

fendants’ telling (at 11), a school always discriminates under Title IX by requiring students to access

facilities and programs aligned with their sex but inconsistent with their gender identity. But multiple

provisions of Title IX authorize just that. PI Br. 13. Defendants do not pause at how the Final Rule’s

Bostock-based view of “sex discrimination” clashes with Title IX’s broader structure. Instead, they

claim (at 10-12) that Title IX’s carve-outs show Congress “naturally” and expressly authorized certain

types of harmful discrimination against students. Accord 89 Fed. Reg. at 33,814, 33,819 (advancing


        2
         E. Coleman et al., Standards of Care for the Health of Transgender and Gender Diverse People, Version
8,     23     Int’l    J.       of      Transgender         Health        No.      S1,      S80        (2022),
https://www.tandfonline.com/doi/pdf/10.1080/26895269.2022.2100644.
                                                      7
Case: 2:24-cv-00072-DCR-CJS               Doc #: 92 Filed: 06/07/24            Page: 13 of 23 - Page
                                             ID#: 1832


this view). It “defies logic” to conclude that Congress went out of its way to allow discrimination in

policies covering housing, “father-son or mother-daughter activities,” and Boys and Girls State, but

not bathrooms, choirs, and sexual education. B.P.J., 98 F.4th at 579 (Agee, J., concurring in part and

dissenting in part); compare 20 U.S.C. §§ 1681(7)-(8), 1686, with 34 C.F.R. §§ 106.33, 106.34(a)(3)-(4).

        Defendants (at 10, 12-14) insist that there is nothing illogical about saying schools can maintain

policies requiring sex separated bathrooms, but must not “implement” those policies anytime doing so

conflicts with a student’s gender identity. And they try (at 11) to square the Final Rule with the still-

operative regulation permitting sex-separated bathrooms on this basis. But this view would render

any allowance for sex-separation entirely “meaningless.” Adams, 57 F.4th at 813. A “sex-separation”

policy that must give way to students’ gender-identity preferences does not “allow” sex-separation

(Opp’n 11)—just gender-identity-based separation. Defendants’ reading also “contradict[s] the very

purpose of allowing separate facilities”; it necessitates “privacy”-harming exposure to members of the

opposite sex. Williamson Cnty. Bd. of Educ., 638 F. Supp. 3d at 835. Defendants give no answer, other

than to dispute wholesale (at 14) that encountering a person of the opposite sex in a bathroom, locker

room, or shower implicates any “legitimate privacy interest.” But see supra p. 4.

        The Final Rule’s nonsensical treatment of sports makes matters worse. Defendants’ argument

(at 13) that sports, but not bathrooms, are a “special context” permitting different sex-separation rules

overlooks how sex differences underpin sex-separated bathrooms. Defendants cannot rest (at 13) on

their “longstanding” approach to athletics, since they do not dispute that the bathroom regulation is

just as longstanding. Nor do Defendants acknowledge the Department of Justice’s opposite position

on sports in different Title IX litigation. See Compl. ¶ 155. Otherwise, the Final Rule’s reasoning

suggests that Title IX might permit some sex-separated sports teams depending on the “sport, level

of competition, and grade or education level.” 89 Fed. Reg. at 33,817; see also Compl. ¶¶ 126-29. But


                                                    8
Case: 2:24-cv-00072-DCR-CJS               Doc #: 92 Filed: 06/07/24            Page: 14 of 23 - Page
                                             ID#: 1833


even this limited reasoning confirms what the States here stress: biological sex differences exist, matter

in practice, and can be recognized and respected by schools consistent with Title IX.

        B.      The “Harassment” Definition Exceeds the Department’s Title IX Authority.

        Defendants (at 15-16) agree that the Final Rule’s sexual harassment definition is broader than

the definition the Supreme Court required in Davis ex. Rel. LaShonda D. v. Monroe County Board of Edu-

cation, 526 U.S. 629 (1999). So Defendants apparently read the same Title IX language to provide two

different definitions of harassment depending on who sues. This “chameleon” view of Title IX is

unpersuasive on its own terms, In re Juntoff, 76 F.4th 480, 485 (6th Cir. 2023) (citation omitted), and

further ignores central legal justifications for Davis’s holding. Among them, the Court adopted its

harassment definition to reflect that discrimination must “occur ‘under any education program or ac-

tivity,’” Davis, 526 U.S. at 652 (quoting 20 U.S.C. § 1681(a)), and with “limitations” meant to avoid

infringing protected speech, id. Contrary agency practice (cited at Opp’n 15) cannot override the

permissible meaning of Title IX, as interpreted by the Supreme Court.

        C.      The Final Rule Violates the Constitution.

        The Final Rule’s constitutional failings further foreclose Defendants’ reading. PI Br. 17-19.

        1. Spending Clause. Defendants (at 19) rest on their mantra that the Final Rule merely “clarifies

the scope of Title IX’s unambiguous prohibition on sex discrimination.” But to state the obvious, a

provision that “unambiguously” “condition[s] . . . the grant of federal moneys” needs no clarifying.

Kentucky v. Yellen, 54 F.4th 325, 348 (6th Cir. 2022). The Final Rule in reality changes the plain meaning

of “sex discrimination” from sex—i.e., male versus female—to gender identity and a “not exhaustive”

list of other “sex characteristics.” 89 Fed. Reg. at 33,801-03. And it deems schools’ longstanding sex-

separated-facilities policies discriminatory. Id. at 33,887. If the Spending-Clause clear-statement rule

bars anything, it is agencies’ adopting conditions with a meaning they can’t fully articulate and


                                                    9
Case: 2:24-cv-00072-DCR-CJS               Doc #: 92 Filed: 06/07/24             Page: 15 of 23 - Page
                                             ID#: 1834


directives that are inherently self-contradictory. Nor does Jackson v. Birmingham Bd. of Educ., 544 U.S.

167 (2005) (cited at 20), require otherwise. Unlike the retaliation there (punishing a coach for seeking

equality in women’s athletics, id. at 171-72), maintaining sex separation in intimate spaces is not discrim-

inatory—let alone clearly so. The en banc Eleventh Circuit in Adams thus cited Spending-Clause prin-

ciples as reason to reject Defendants’ reading. PI Br. 18. Defendants offer no response.

        2. First Amendment. Defendants (at 18) do not disavow that the Final Rule will force students,

teachers, and staff to use students’ preferred pronouns. Nor could they, since Defendants’ enforce-

ment history proves as much. Compl. ¶¶ 81-82, 213 & n.30. 3 As the Sixth Circuit and other courts

have recognized, broadly compelling such speech is constitutionally impermissible. PI Br. 18; Inter-

venors’ Br. 20. The States’ argument about how the Final Rule applies to pronouns need not clear

the “substantial applications” test (Opp’n 17-18), but does, given the widespread way in which pro-

noun-speech arises. Nor can Defendants (at 7) dodge Meriwether v. Hartop, 992 F.3d 492 (6th Cir.

2021), as a case about “certain classroom statements,” since the “statements” were a professor’s “use

of pronouns” contrary to a student’s “self-asserted gender identity.” Id. at 498, 503-512.

        3. Parental Rights. Defendants (at 20-21) do not disagree that the Final Rule could require

schools to adopt a student’s gender identity over a parent’s opposition depending on a “case-by-case

determination[],” id. at 33,822, and would preempt any contrary state laws, id.—thus harming States

directly. Cf. e.g., Tenn. Code Ann. § 49-6-316 (2024). At a minimum, this treatment of parental rights

presents a constitutional can of worms that further cautions against the Final Rule’s interpretation.

        D.      The Final Rule Is Arbitrary and Capricious.

        Defendants’ recitation (at 14) of the Final Rule’s discussion of privacy and safety interests


        3
          Such enforcement is occurring in Tennessee, see Ex. C to Reply (OCR May 16, 2023 Com-
plaint), even though the Department is currently enjoined from “implementing” its present Title IX
interpretation, Tennessee v. Dep’t of Educ., 615 F. Supp. 3d 807, 842 (E.D. Tenn. 2022).
                                                    10
Case: 2:24-cv-00072-DCR-CJS               Doc #: 92 Filed: 06/07/24            Page: 16 of 23 - Page
                                             ID#: 1835


underscores that arbitrariness abounds. The Final Rule’s assertion that schools can “make and enforce

rules” protecting privacy (cited at Opp’n 14) is empty given that schools and students face liability for

even inquiring about the presence of opposite-sex persons in a sex-separated space, PI Br. 9-10. De-

fendants’ point (at 14) that many schools opt to use “written confirmation” or “consistent assertion[s]”

of gender identity does not address how schools are to verify access for persons lacking such evidence.

Parroting (at 14) the Final Rule’s conclusion that there is no “evidence” the gender-identity mandate

“compromises anyone’s legitimate privacy interest” adds insult to injury by conflating the long-recog-

nized interest in not being exposed to strangers of the opposite sex with bigotry. It also sidesteps the

relevant safety risks, since the Final Rule’s no-questions-asked access regime means there would be

no telling whether opposite-sex encounters in intimate spaces in fact involve safety threats seeking to

capitalize on the cover the gender-identity mandate provides. See Doc. # 1-3 at 9-12. The Final Rule’s

remaining suggestion—that schools offer additional and different facilities for students—would im-

pose seismic new costs that the Final Rule elsewhere rejects considering. Compl. ¶ 171.

        Nor can Defendants (at 18) rehabilitate their failure to rationally justify the expanded defini-

tion of prohibited “harassment.” If the Final Rule indeed considered consistency with the First

Amendment, then disavowing required use of preferred pronouns should have followed—yet De-

fendants decline that step, see supra p. 10. That the Final Rule felt the need to clarify that it does not

“confer[] parental rights to” schools is troubling, id. at 33,531, 33,835, as well as hard to square with

Defendants’ failure to answer whether they think Title IX forces schools to engage in gender inter-

ventions over parental opposition, see supra p. 10.

II.     The Remaining Factors Favor Preliminary Relief.

        A.      The Final Rule Inflicts Irreparable Harm on the States.

        1. Unrecoverable Compliance Costs. Defendants (at 21-22) do not dispute what this Court (and


                                                      11
Case: 2:24-cv-00072-DCR-CJS               Doc #: 92 Filed: 06/07/24            Page: 17 of 23 - Page
                                             ID#: 1836


the Final Rule itself) observed: The States face “nonrecoverable compliance costs which they will no

doubt begin to incur well before the August 1, 2024 effective date” of the Final Rule. See Order, Doc.

# 49 at 2; see PI Br. 21-22; 89 Fed. Reg. at 33,858 (“increased costs”). Indeed, the States detail several

categories of “specific[]” obligations and “greater” costs the Final Rule requires of them, including

“staff or … third party contractor” costs to “conduct training,” “travel costs” to provide training

across school districts, “updating policies and training materials,” and “updat[ing] school building re-

strooms and locker[s].” Thompson Decl. ¶¶ 10-11, Mason Decl. ¶ 7, Deuth Decl. ¶ 13. This evidence

amply supports relief and is further bolstered by supplemental declarations detailing schools’ ongoing

compliance efforts submitted in conjunction with this brief. See Exs. A-B to Reply.

        Defendants’ dismissal of these costs as routine (at 21) contradicts circuit precedent holding

similar costs proved irreparable harm. See Kentucky v. Biden, 57 F.4th 545, 556 (6th Cir. 2023). The

contrary district court case Defendants cite (at 21) was swiftly stayed by the Sixth Circuit, which found

the challengers’ “costs to ensure their compliance” as well as risk of punishment sufficient to show

irreparable injury. See Kentucky v. EPA, Nos. 23-5343/5345, at 6-7 (6th Cir. May 10, 2023), ECF No.

24. Defendants’ “quantification” argument (at 22) rests on the same stayed district court opinion and

also was rejected by the Sixth Circuit. Id. at 5. If anything, Defendants’ request that the States devote

resources to finding the “precise dollar figure” of compliance expenses would perversely compound

their unrecoverable costs. Rest. L. Ctr. v. U.S. Dep’t of Lab., 66 F.4th 593, 600 (5th Cir. 2023).

        2. Funding Losses. Defendants (at 3, 16) reiterate their power to “terminate” States’ funding,

yet say the States’ exposure to such losses does not support preliminary relief. If Defendants mean

that States can “merely acquiesc[e]” to the Final Rule’s unlawful mandates rather than lose funding,

circuit caselaw forecloses this end round because the States “need not subject themselves to the very

framework they say is unlawful.” Biden, 57 F.4th at 555 (cleaned up). Nor need the States proceed


                                                    12
Case: 2:24-cv-00072-DCR-CJS               Doc #: 92 Filed: 06/07/24             Page: 18 of 23 - Page
                                             ID#: 1837


with a cloud over their federal funding while awaiting a later enforcement action. Cf. Fla. Bankers Ass’n

v. U.S. Dep’t of Treasury, 799 F.3d 1065, 1066 (D.C. Cir. 2015) (Kavanaugh, J.).

        3. Sovereignty Harms. Defendants have no answer to the States’ sovereignty harms, other than

to say (at 22-23) the Supremacy Clause means federal rules trump. Of course, only valid federal laws

enjoy this effect—and the Final Rule is not one. Supra Part I. Regardless, the States’ irreparable harm

stems “from their inability to enforce the will of their legislatures.” L.W., 73 F.4th at 421; see, e.g.,

Tenn. Code Ann. § 49-50-805; PI Br. 24. And here, the Final Rule confirms that it preempts state law

in ways undisputed by Defendants. 89 Fed. Reg. at 33,540-42; id. at 33,885 (Proposed § 106.6(b)).

        4. Harms to Privacy, Safety, and Competition Interests. Defendants’ no-standing argument (at 23)

likewise overlooks the States’ “quasi-sovereign interest in the ‘health and well-being … of [their] resi-

dents in general,’” Kentucky v. Biden, 23 F.4th 585, 599 (6th Cir. 2022) (citation omitted), which readily

encompasses protecting students from unwanted “expos[ure] to persons of the opposite biological

sex.” Grimm, 822 F.3d at 734 (Niemeyer, J., concurring in part and dissenting in part). So too, state

employees working on campuses subject to the Final Rule would suffer directly from the gender-

identity mandate. See, e.g., Thompson Decl. ¶¶ 4-5; Gentile Decl. ¶¶ 3, 5; Intervenors’ Br. 21-22.

        Defendants (at 23) dismiss the States’ asserted privacy, safety, and competition injuries as

“speculative and hypothetical.” That will be news to Intervenor-Plaintiff A.C., who has already suf-

fered very real irreparable harm from policies akin to Defendants’ Title IX position. See Decl. of A.C.,

Doc. # 21-5 ¶¶ 15-27, 41-59 (discussed being “pushed out” from sports opportunities and subjected

to “aggressive, vile, and disturbing” “sexual comments” in “locker room”). Defendants’ rebuttal also

ignores the record and recent reality, which exhibit safety and competition incidents. Compl. ¶ 57. 4


        4
         See, e.g., Ryan Morik, West Virginia Middle School Students Barred from Track Meet After Protesting
Transgender Athlete’s Inclusion, Fox News (May 2, 2024), https://perma.cc/VG8H-3EGY.

                                                    13
Case: 2:24-cv-00072-DCR-CJS                 Doc #: 92 Filed: 06/07/24             Page: 19 of 23 - Page
                                               ID#: 1838


Defendants cannot ignore the similar harm their distortion of Title IX is likely to inflict.

        B.       Preliminary Relief Will Not Harm Defendants or the Public Interest.

        The public interest overwhelmingly favors temporarily maintaining the status quo permitting

sex-separated bathrooms, which “‘date[] back as far as written history will take us.’” Adams ex rel.

Kasper v. Sch. Bd. of St. Johns Cnty., 968 F.3d 1286, 1312 (11th Cir. 2020) (Pryor, C.J., dissenting) (citation

omitted). Supreme Court precedent also recognizes that separating the sexes may be “necessary to

afford members of each sex privacy from the other sex.” United States v. Virginia, 518 U.S. 515, 550

n.19 (1996); see PI Br. 24-25. Defendants do not address the States’ point that a pause of the Final

Rule is reasonable given these longstanding realities, as well as the Department’s two-year delay in

promulgating the Final Rule and Title IX’s unbroken history of permitting sex-separated facilities.

        Defendants also overlook how the Final Rule’s gender-identity mandate will widely affect the

interests of students, educational employees, and families. Instead, Defendants (at 24) seem to believe

that no amount of collateral damage to the privacy of those opposing forced, intimate-setting encoun-

ters with members of the opposite sex could justify delaying their new regime. Contra Defendants’

characterization (at 11), the States—as well as an ever-growing body of international authorities—do

dispute that denying widespread gender-identity interventions like social transitioning necessarily in-

flicts harm on school-aged children, versus the other way around. See, e.g., L.W., 83 F.4th at 468-70,

77. That aside, the Final Rule notes that schools can and do “voluntarily” adopt Defendants’ preferred

gender-identity policies. E.g., 89 Fed. Reg. at 33,816. The public interest favors addressing difficult

gender-identity issues through “[e]lected representatives” and state-and-local policy, L.W., 83 F.4th at

491, not an agency-made mandate that settles the debate for all and overrides Title IX’s limits.




                                                      14
Case: 2:24-cv-00072-DCR-CJS                Doc #: 92 Filed: 06/07/24              Page: 20 of 23 - Page
                                              ID#: 1839


III.    The APA and Equity Support Entry of the States’ Requested Relief.

        The States are entitled to postponement of the Rule under Section 705 of the APA, whose

plain text permits entry of relief that is not “party-restricted.” Career Colls. & Schs. of Tex. v. U.S. Dep’t

of Educ., 98 F.4th 220, 255 (5th Cir. 2024) (discussing West Virginia v. EPA, 577 U.S. 1126 (2016)); see

T. Elliot Gaiser, et al., The Truth of Erasure: Universal Remedies for Universal Agency Actions 3 n.4 (forth-

coming in Univ. Chi. L. Rev. Online), https://perma.cc/G2HD-PAKA. This reading reflects the

difference between the APA context—where vacatur of a rule “for everyone” is the normal remedy,

Kiakombua v. Wolf, 498 F. Supp. 3d 1, 52 (D.D.C. 2020) (K.B. Jackson, J.) (citation omitted); see Career

Colls., 98 F.4th at 255 (collecting authorities)—and non-APA cases involving requests for equitable

relief that flow to particular parties, cf. Griffin v. HM Florida-ORL, LLC, 144 S. Ct. 1, 1, n.1 (2023)

(Kavanaugh, J., concurring in denial of stay) (explaining difference). Further, this Court may issue an

injunction providing “complete relief.” Opp’n 24. Here, the States press protected interests in en-

forcing their laws; safeguarding privacy, safety, and fairness for educators and students; and ensuring

continued funding for valuable programs. Preventing harm to these interests, at minimum, requires

enjoining Defendants from unlawful Title IX action against the States and their schools statewide.

        Defendants (at 25) assert that the Final Rule is severable and that any lawful portions should

take effect on August 1, 2024. Defendants’ boilerplate severability discussion, see 89 Fed. Reg. at

33,848, does not explain how Defendants—or this Court—would disentangle the unlawful gender-

identity requirements from other provisions. Nor does it acknowledge the practical complications

that would arise from saddling schools with dual-track compliance duties. These dynamics cut against

resolving the Department’s thorny severability arguments at this preliminary phase.

                                             CONCLUSION

         This Court should grant the States’ motion for preliminary relief.


                                                     15
Case: 2:24-cv-00072-DCR-CJS                Doc #: 92 Filed: 06/07/24         Page: 21 of 23 - Page
                                              ID#: 1840


Dated: June 7, 2024                                      Respectfully submitted,

RUSSELL COLEMAN                                           JONATHAN SKRMETTI
 Attorney General                                          Attorney General and Reporter

/s/ Justin D. Clark                                       /s/ Whitney D. Hermandorfer
JUSTIN D. CLARK                                           J. MATTHEW RICE*
   Civil Chief                                               Solicitor General
VICTOR B. MADDOX                                          WHITNEY D. HERMANDORFER*
   Counsel for Special Litigation                            Director of Strategic Litigation
LINDSEY R. KEISER                                         STEVEN J. GRIFFIN*
   Assistant Attorney General                                Senior Counsel for Strategic Litigation &
Kentucky Office of the Attorney General                   Assistant Solicitor General
700 Capital Avenue, Suite 118                             VIRGINIA N. ADAMSON*
Frankfort, Kentucky 40601                                    Counsel for Strategic Litigation &
(502) 696-5300                                            Assistant Solicitor General
victor.maddox@ky.gov                                      BRIAN DANIEL MOUNCE*
justind.clark@ky.gov                                         Counsel for Strategic Litigation &
lindsey.keiser@ky.gov                                     Assistant Solicitor General
                                                          Office of the Tennessee Attorney General
Counsel for the Commonwealth of Kentucky                  P.O. Box 20207
                                                          Nashville, Tennessee 37202
                                                          (615) 741-3491
                                                          matt.rice@ag.tn.gov
                                                          whitney.hermandorfer@ag.tn.gov
                                                          steven.griffin@ag.tn.gov
                                                          jenna.adamson@ag.tn.gov
                                                          brian.mounce@ag.tn.gov

                                                          Counsel for the State of Tennessee

THEODORE E. ROKITA                                        DAVE YOST
 Attorney General                                          Attorney General

/s/ James A. Barta                                        /s/T. Elliot Gaiser
JAMES A. BARTA*                                           T. ELLIOT GAISER*
  Solicitor General                                         Solicitor General
CORRINE L. YOUNGS*                                        MATHURA SRIDHARAN*
  Policy Director and Legislative Counsel                   Deputy Solicitor General
JOSHUA DAVID*                                             Office of the Ohio Attorney General
  Deputy Attorney General - Policy                        30 East Broad Street, 17th Floor
Indiana Attorney General’s Office                         Columbus, Ohio 43215
IGCS – 5th Floor                                          (614) 466-8980
302 W. Washington St.                                     thomas.gaiser@ohioago.gov
Indianapolis, IN 46204                                    mathura.sridharan@ohioago.gov
(317) 232-0709                                            Counsel for the State of Ohio
                                                  16
Case: 2:24-cv-00072-DCR-CJS                Doc #: 92 Filed: 06/07/24        Page: 22 of 23 - Page
                                              ID#: 1841


james.barta@atg.in.gov
corrine.youngs@atg.in.gov
joshua.david@atg.in.gov

Counsel for the State of Indiana


JASON S. MIYARES                                          PATRICK MORRISEY
  Attorney General                                         Attorney General

/s/ Kevin M. Gallagher                                    /s/ Michael R. Williams
KEVIN M. GALLAGHER*                                       MICHAEL R. WILLIAMS*
  Principal Deputy Solicitor General                        Principal Deputy Solicitor General
BRENDAN T. CHESTNUT*                                      Office of the West Virginia Attorney General
  Deputy Solicitor General                                State Capitol, Bldg. 1, Room E-26
Virginia Attorney General’s Office                        1900 Kanawha Blvd. E.
202 North 9th Street                                      Charleston, West Virginia 25305
Richmond, Virginia 23219                                  304-558-2021
(804) 786-2071                                            michael.r.williams@wvago.gov
kgallagher@oag.state.va.us
bchestnut@oag.state.va.us                                 Counsel for the State of West Virginia

Counsel for the Commonwealth of Virginia


*Admitted pro hac vice




                                                  17
Case: 2:24-cv-00072-DCR-CJS             Doc #: 92 Filed: 06/07/24          Page: 23 of 23 - Page
                                           ID#: 1842


                                  CERTIFICATE OF SERVICE

       I certify that on June 7, 2024, the above document was filed with the CM/ECF filing system,

which provided copies of the foregoing to all counsel of record.



                                                              /s/ Whitney Hermandorfer

                                                              WHITNEY HERMANDORFER




                                                 18
